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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                                WORCESTER DIVISION
 JOHN HEATON and CHRISTOPHER
 HORIGAN on behalf of themselves
 and others similarly situated,
                                                     Case No. 4:17-cv-40169-TSH
                        Plaintiff,
 v.

 MOTOR VEHICLE ASSURANCE,
 NATIONAL AUTO PROTECTION CORP
 and SUNPATH, LTD.

                        Defendants.

                       NOTICE OF DISMISSAL WITH
          PREJUDICE REGARDING NATIONAL AUTO PROTECTION CORP.

       The plaintiff files this notice of dismissal with prejudice pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i) of all claims against National Auto Protection Corp.



Dated: June 9, 2020                    PLAINTIFF,

                                       By:
                                       s/ Anthony I. Paronich
                                       Anthony I. Paronich
                                       Paronich Law, P.C.
                                       350 Lincoln Street, Suite 2400
                                       Hingham, MA 02043
                                       Telephone: (508) 221-1510
                                       anthony@paronichlaw.com

                                     CERTIFICATE OF SERVICE
          I, hereby certify that on June 9, 2020, I filed the foregoing with the Court’s CM/ECF

system.
                                              /s/ Anthony Paronich
                                              Anthony Paronich




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